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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 SULLIVAN JONES, et al                                     CIVIL ACTION
 VERSUS                                                    NO. 15-713
 CHARLES S. BECNEL, et al                                  SECTION "S" (2)


                                        ORDER


       The record reflects that service has been made upon the defendants Charles S.

Becnel, Lawrence J. Babin, Larry C. Becnel, John L. Delahay, Paul G. Aucoin, Hallwood

Exploration LP, St. James Parish Courthouse, Elmore Boudreaux, and Tamitia P. Shaw, but

that no responsive pleadings have been filed by said defendants.

       Accordingly,

       IT IS ORDERED that the plaintiff move for entry of default against the said

defendants under Federal Rules of Civil Procedure 55, or show good cause in writing within

20 days why these defendants should not be dismissed for failure to prosecute. If plaintiff

fails to move for entry of default or show good cause in writing, the aforementioned

defendants will be dismissed without prejudice for failure to prosecute without further

notice in accordance with Federal Rules of Civil Procedure 16(f).

       New Orleans, Louisiana, this 7th    day of July 2015.




                                                      MARY ANN VIAL LEMMON
                                                    UNITED STATES DISTRICT JUDGE
